     Case 1:17-cr-00171-DAD-BAM Document 32 Filed 08/02/18 Page 1 of 3


 1

 2

 3

 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                         No. 1:17-cr-00171-DAD-BAM
12                       Plaintiff,
13           v.
                                                        STIPULATION AND PROPOSED ORDER
14    OSCAR IVAN SALAZAR-AVALOS,
15                       Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by

18   and through their counsel of record, hereby stipulate as follows:

19          1.      This matter was previously set for a status conference before Magistrate Judge

20                  Barbara A. McAuliffe on July 23, 2018, at 1 p.m.

21          2.      After meeting and conferring, the parties agreed to set trial in this matter on April

22                  16, 2019, at 1 p.m. This date was reached by the parties after Mr. Harralson

23                  indicated to counsel for the government that he was not available until after

24                  March, 2019.

25          3.      At the status conference, Assistant U.S. Attorney appeared on behalf of counsel for

26                  the government, who was unavailable due to prescheduled annual leave. The trial

27                  was set for April 16, 2019. The Court made an ends of justice finding and

28                  excluded time to and through that date. However, it was not stated on the record
                                                       1
     Case 1:17-cr-00171-DAD-BAM Document 32 Filed 08/02/18 Page 2 of 3


 1               that time should be excluded due to unavailability of counsel, as well as for the

 2               purpose of continuing plea negotiations and conducting pretrial investigation.

 3          4.   Thus, the parties agree and stipulate, and request that the Court further find the

 4               following:

 5               a.      Mr. Harralson is not available to try this matter until after March,

 6               2019.

 7               b.      The parties need additional time to assess a potential disposition of the case

 8               and/or conduct additional investigation and/or prepare for trial.

 9               c.      The parties believe that these facts supplement the ends of justice finding

10               already made by the Court. Specifically, the failure to grant the above-requested

11               continuance to April 16, 2019, would deny the defendant the reasonable time

12               necessary for effective resolution, further investigation, and/or trial preparation,

13               taking into account the exercise of due diligence, and would deny the defense

14               continuity of counsel.

15               c.      Based on the above-stated findings, the ends of justice served by

16               continuing the case as requested outweigh the interest of the public and the

17               defendant in a trial within the original date prescribed by the Speedy Trial Act.

18               d.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

19               3161, et seq., within which trial must commence, the time period of July 23, 2018,

20               to April 16, 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §
21               3161(h)(7)(A), because it results from a continuance granted by the Court at the

22               parties’ request on the basis of the Court's finding that the ends of justice served by

23               taking such action outweigh the best interest of the public and the defendant in a

24               speedy trial.

25               4.      Nothing in this stipulation and order shall preclude a finding that other

26               provisions of the Speedy Trial Act dictate that additional time periods are
27               excludable from the period

28   ////
                                                     2
     Case 1:17-cr-00171-DAD-BAM Document 32 Filed 08/02/18 Page 3 of 3


 1   ////

 2   IT IS SO STIPULATED.

 3   DATED:           July 30, 2018.         Respectfully submitted,

 4                                           McGREGOR W. SCOTT
 5                                           United States Attorney

 6                                           /s/ Karen A. Escobar___________________
                                             KAREN A. ESCOBAR
 7                                           Assistant United States Attorney
 8

 9   DATED:           July 30, 2018.

10                                           /s/ Daniel Harralson
                                             DANIEL HARRALSON
11                                           Counsel for OSCAR IVAN SALAZAR-AVALOS
12

13                                           ORDER
14             Having reviewed the stipulation of the parties,
15
     IT IS SO ORDERED.
16
            Dated:   August 1, 2018                              /s/ Barbara A. McAuliffe   _
17
                                                         UNITED STATES MAGISTRATE JUDGE
18

19

20
21

22

23

24

25

26
27

28
                                                         3
